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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                                  MDL NO 2924
 PRODUCTS LIABILITY                                                                           20-MD-2924
 LITIGATION
                                                             JUDGE ROBIN L ROSENBERG
                                                     MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                          JURY TRIAL DEMANDED
 __________________________________
 LARRY GOMEZ, on behalf of NANCY COLE
 (Plaintiff Name(s))

                                   SHORT-FORM COMPLAINT

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

 Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

 by Pretrial Order No. 31.

         Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.       PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) ____________________
                             LARRY GOMEZ, on behalf of NANCY COLE
                                                                  (“Plaintiff(s)”) brings this action (check the
                applicable designation):

                                 On behalf of [himself/herself];

                         ✔       In representative capacity as the __________________,
                                                                   Child               on behalf
                                 of     the     injured    party,    (Injured  Party’s   Name)
                                 ___________________.
                                  Nancy Cole




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        2.      Injured Party is currently a resident and citizen of (City,                    State)
                _________________________ and claims damages as set forth below.

                                                      —OR—

                Decedent died on (Month, Day, Year) _______________.
                                                    January 28, 2019   At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.
                Merced, California


 If any party claims loss of consortium,

        3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) _________________________.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _________________________.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                Complaint in this action:

                   a. Brand Manufacturers: GlaxoSmithKline LLC; GlaxoSmithKline (America) Inc.; GlaxoSmithKline PLC


                   b. Generic Manufacturers: Amneal Pharmaceuticals of New York, LLC; L. Perrigo Co


                   c. Distributors: Chattem, Inc.; McKesson, Corporation; Cardinal Health, Inc.


                   d. Retailers: Walgreens Boots Alliance, Inc.; Walgreen Co.


                   e. Repackagers: Aurobindo Pharma USA, Inc.; Wockhardt USA LLC; Dr. Reddy's La


                   f. Others Not Named in the MPIC: Walgreens Boots Alliance, Inc.; AmerisourceBerg




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    C. JURISDICTION AND VENUE


       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:
             UNITED STATES DISTRICT COURT EASTERN DISTRICT OF CALIFORNIA
       8.    Jurisdiction is proper upon diversity of citizenship.



                                  II.     PRODUCT USE


       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                     ✔      By prescription

                     ✔      Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) _______________
                           January 2007    to _______________.
                                              December 2018



                               III.     PHYSICAL INJURY


       11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                              Approximate    Date       of
  that                                                               Diagnosis
  apply
            BLADDER CANCER
            BRAIN CANCER
            BREAST CANCER
            COLORECTAL CANCER
            ESOPHAGEAL/THROAT/NASAL CANCER
            INTESTINAL CANCER
            KIDNEY CANCER
            LIVER CANCER
            LUNG CANCER
            OVARIAN CANCER
            PANCREATIC CANCER
            PROSTATE CANCER
   ✔        STOMACH CANCER                                           July 1, 2012




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             TESTICULAR CANCER
             THYROID CANCER
             UTERINE CANCER
             OTHER CANCER:

   ✔         DEATH (CAUSED BY CANCER)                               January 28, 2019



       12.    Defendants, by their actions or inactions, proximately caused the injuries to
              Plaintiff(s).


                         IV.    CAUSES OF ACTION ASSERTED

       13.    The following Causes of Action asserted in the Master Personal Injury Complaint
              are asserted against the specified defendants in each class of Defendants
              enumerated therein, and the allegations with regard thereto are adopted in this Short
              Form Complaint by reference.

    Check if   COUNT Cause of Action
    Applicable
       ✔         I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

       ✔           II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

       ✔           III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                           DEFECT

       ✔           IV      NEGLIGENCE – FAILURE TO WARN

       ✔           V       NEGLIGENT PRODUCT DESIGN

       ✔           VI      NEGLIGENT MANUFACTURING

       ✔          VII      GENERAL NEGLIGENCE

       ✔          VIII     NEGLIGENT MISREPRESENTATION

       ✔           IX      BREACH OF EXPRESS WARRANTIES

       ✔           X       BREACH OF IMPLIED WARRANTIES

       ✔           XI      VIOLATION OF CONSUMER PROTECTION AND
                           DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                           statute below: California Business and Professions Code §§ 17500, et seq.




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    Check if   COUNT Cause of Action
    Applicable

         ✔             XII         UNJUST ENRICHMENT

                      XIII         LOSS OF CONSORTIUM

         ✔            XIV          SURVIVAL ACTION

         ✔             XV          WRONGFUL DEATH

         ✔            XVI          OTHER: Discovery Rule, Equitable Tolling/Estoppel

                     XVII          OTHER:


                If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):
                 Count XVI - Plaintiff did not discover, and could not have reasonably discovered, the complained injury
                 until mid 2020.




                                                  V.        JURY DEMAND
         14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.

                                            VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Master

 Personal Injury Complaint.



 /s/_________________________
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